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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ATHENS DIVISION



UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )                 Case No.: ____________
                                          )
v.                                        )
                                          )
MARK A. ELLIS, M.D.; PATSY ALLEN;         )
MARK A. ELLIS, M.D., P.C. d/b/a           )                 JURY TRIAL
ELLIS PAIN CENTER;                        )
ELLIS PRACTICE MANAGEMENT, LLC,           )
                                          )
            Defendants.                   )
__________________________________________)

                  COMPLAINT OF THE UNITED STATES OF AMERICA

                                      INTRODUCTION

       1.       The United States of America brings this action under the False Claims Act, 31

U.S.C. § 3729, et seq. (the “FCA”) and common law theories of payment by mistake, unjust

enrichment and fraud against Mark A. Ellis, M.D. (“Ellis”); Patsy Allen (“Allen”); Mark A. Ellis,

M.D., P.C. d/b/a Ellis Pain Center (“EPC”) and Ellis Practice Management, LLC (“EPM”)

(collectively, the “Defendants”) to recover damages suffered as a result of Defendants’ unlawful

conduct, including the submission of thousands of false claims to Medicare for services that were

never rendered and services that were medically unnecessary. Defendants’ actions unjustly

enriched their bank accounts at the expense of the United States and the tax-paying public, as set

forth in detail below.
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        2.       Between 2012 and 2015, the Defendants profited tremendously from the

implementation of a scheme to submit claims for a pre-set list of urine drug tests for EPC patients

on virtually every visit.

        3.       Through the use of “shortcuts” in the billing software that was used to submit EPC’s

claims to Medicare and other payers, EPC, at the direction of Ellis and Allen, automatically entered

a list of pre-determined codes for various urine drug tests onto EPC’s electronic claim regardless

of whether the test was actually conducted, ordered by a clinician or medically necessary.

        4.       Indeed, Medicare paid EPC over $7.6 million for confirmation and quantitative

drug testing performed from 2012 to 2015.

        5.       EPC, at the direction of Ellis and Allen, maintained a practice of numerous patients,

most of whom were prescribed opioids by Ellis. These patients were required to come into the

office on a monthly basis where they were subject to a battery of unnecessary, excessive and

expensive routine testing without any medical justification. Patients were generally given 10

minute time slots, during which they were evaluated by a physician’s assistant or medical assistant,

directed to undergo unnecessary testing and then prescribed their opioid by Ellis. Patients who

took up more than the allotted 10 minutes were referred to internally as “problem” patients.

        6.       In order to implement this scheme, EPC, at the direction of Ellis and Allen, set up

standing orders for testing to be conducted on their patients without regard to each patient’s

individual signs, symptoms, complaints or medical history. In many cases, EPC failed to

incorporate the results of these tests into their patients’ respective plans of care, a fact that

underscores the lack of medical necessity for these claims.

        7.       Medicare paid EPC over $800,000.00 for the ancillary testing performed from 2012

to 2015.



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        8.       Each Defendant was unjustly enriched as a result of the fraudulent billing schemes

for which Ellis, Allen and EPC wrongfully obtained money from the United States and their

knowing retention of such monetary benefits would be inequitable under these circumstances.

                                  JURISDICTION AND VENUE

        9.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331, 1345 and 1367(a).

        10.      Under 31 U.S.C. § 3732(a), the Court has personal jurisdiction over Ellis because

he resides, has transacted business and has committed acts in violation of the FCA in this District.

        11.      Under 31 U.S.C. § 3732(a), the Court has personal jurisdiction over Allen because

she has transacted business in this District and because a substantial part of the events and

omissions giving rise to the claims alleged occurred in this District.

        12.      Under 31 U.S.C. § 3732(a), the Court has personal jurisdiction over EPC because

its principal office is located in this District, and it has transacted business in this District and

because a substantial part of the events and omissions giving rise to the claims alleged occurred in

this District.

        13.      Under 31 U.S.C. § 3732(a), the Court has personal jurisdiction over EPM because

its principal office is located in this District and it has transacted business in this District and

because a substantial part of the events and omissions giving rise to the claims alleged occurred in

this District.

        14.      Venue is proper in the Middle District of Georgia pursuant to 28 U.S.C. §§ 1391(b)

and 1395(a) and 31 U.S.C. § 3732(a), because all Defendants reside in or operate in Clarke County,

Georgia and because a substantial part of the events and omissions giving rise to the claims alleged

occurred in this District.



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                                             PARTIES

       15.     The United States brings this action on behalf of the United States Department of

Health and Human Services (“HHS”) and its operating division, the Centers for Medicare &

Medicaid Services (“CMS”), which administers the Medicare program for HHS.

       16.     At all times relevant to the Complaint, Ellis was a licensed physician engaged in

the practice of pain management in the State of Georgia, doing business at 1500 Langford Drive,

Building 200, Watkinsville, GA 30677, during which he has treated patients covered by the

Medicare program (“Medicare beneficiaries”). Ellis is and has been the sole owner of EPC since

its inception in 2001 and is and has been one of the owners of EPM since its inception in 2008.

Ellis resides in Athens, Georgia.

       17.     At all times relevant to the Complaint, Allen has been the Practice Administrator

of EPC and has had managerial control of EPC, which does business at 1500 Langford Drive,

Building 200, Watkinsville, GA 30677, and has been one of the owners of EPM since its inception

in 2008. Allen has had no medical training or certifications.

       18.     At all times relevant to the Complaint, EPC has been a Georgia professional

corporation with its principal place of business at 1500 Langford Drive, Building 200,

Watkinsville, GA 30677, that has operated a pain management clinic. Although EPC has had

satellite offices in Royston, Commerce and Monroe, Georgia, those offices are now closed.

Approximately 50% of the patients seen at EPC are Medicare beneficiaries. Employees of EPC

conducted tests on Medicare beneficiaries and submitted claims to Medicare at the direction of

Ellis and Allen. EPC is solely owned by Ellis. EPC”s officers are Ellis and Allen, with Ellis listed

as the C.E.O. and C.F.O. and Allen listed as EPC’s Secretary in its filings with the State of Georgia.

The daily operations of EPC are managed and controlled by Ellis and Allen.



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        19.      At all times relevant to the Complaint, EPM has been a Georgia limited liability

company with its principal place of business at the same location as EPC, that is, 1500 Langford

Drive, Building 200, Watkinsville, GA 30677. EPM is owned and operated by Ellis and Allen,

with each holding a 50 percent ownership interest. EPM owns the property located at 1500

Langford Drive.

        20.      EPM is a practice management entity into whose accounts EPC deposits all of its

revenue after EPC pays its operating expenses. However, EPC does all of its own billing and

payment of its operating expenses. Further, upon information and belief and at all times relevant

to this Complaint, EPM does not have any employees itself and the only practice managed by EPM

is EPC.

        21.      At all times relevant to the Complaint, the activities of both EPC and EPM were at

the direction of and within the control of Ellis and Allen, who control both entities. As a result,

EPM had knowledge, recklessly disregarded, or was deliberately ignorant of the fraudulent

conduct of EPC, Ellis, and Allen alleged herein. Moreover, the profits of this conduct were

deposited into EPM’s account.

        22.      EPM’s relationship with EPC and the role of Ellis and Allen in the operation of

both entities are such that EPM and EPC are not independent of one another. Accordingly, EPM

is the alter ego or a mere instrumentality of EPC, or vice versa, and any treatment of EPM and

EPC as separate, legal entities is inequitable.

                         LEGAL AND REGULATORY FRAMEWORK

   I.         The False Claims Act

        23.      The FCA provides for the award of treble damages and civil penalties for, inter

alia, knowingly presenting or causing to be presented false or fraudulent claims for payment to the



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United States, for knowingly making or using, or causing to be made or used, false records or

statements material to false or fraudulent claims paid by the United States and for knowingly and

improperly avoiding an obligation. 31 U.S.C. §§ 3729(a)(1).

       24.      For purposes of the FCA,

       (1) the terms “knowing” and “knowingly”—

             (A) mean that a person, with respect to information—

                (i) has actual knowledge of the information;

                (ii) acts in deliberate ignorance of the truth or falsity of the
                     information; or

                (iii) acts in reckless disregard of the truth or falsity of the
                     information; and

             (B) require no proof of specific intent to defraud[.]

   31 U.S.C. § 3729(b)(1).

       25.      The standard of proof under the FCA is a preponderance of the evidence. 31 U.S.C.

§ 3731(d).

       26.      The FCA provides that a person is liable to the United States for three times the

amount of damages that the United States sustains because of the act of that person, plus a civil

penalty. For violations that occurred before November 2, 2015, the FCA imposes a penalty for

each violation of not less than $5,500 and not more than $11,000. For violations occurring after

November 2, 2015, all civil statutory penalties, including the FCA, are subject to an annual

adjustment for inflation pursuant to Section 701 of the Bipartisan Budget Act of 2015, Public Law

114-74 (No. 2, 2015) (“BBA”). At this time, by operation of the BBA, for all FCA penalties

assessed after February 3, 2017, whose associated violations occurred after November 2, 2015, the

penalty for each violation is not less than $10,957 and not more than $21,916.



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   II.         The Medicare Program

         27.     In 1965, Congress enacted the Health Insurance for the Aged and Disabled Act, 42

U.S.C. § 1395 et seq., known as the Medicare Program, as part of Title XVIII of the Social Security

Act (the “Act”), to provide health insurance coverage for people age 65 or older and for people

with certain disabilities or afflictions. See 42 U.S.C. §§ 426, 426a.

         28.     The United States administers the Medicare Program through HHS. HHS delegates

direct responsibility for the administration of the Medicare Program to its component agency,

CMS.

         29.     Medicare provides coverage for items and services that are reasonable and

necessary to diagnose or treat an illness or injury or to improve a malformed body member.

Payment will be provided if medical necessity can be substantiated. Section 1862(a)(1) of the

Social Security Act, CMS Manual System, Pub. 100-02, Medicare Benefit Policy Manual, Ch. 16,

§ 20.

         30.     The Medicare Program consists of four parts. 42 U.S.C. §§ 1395c-1395i. Part B

(“Supplementary Medical Insurance for the Aged and Disabled”) generally covers, inter alia,

physicians’ services, services and supplies incident to physicians’ services, and diagnostic tests.

See 42 U.S.C. § 1395k.

         31.     As alleged herein, Defendants submitted, or caused to be submitted, false claims

under Medicare Part B.

         32.     To assist in the administration of Part B, CMS contracts with Medicare

Administrative Contractors (“MACs”) (previously “private insurance carriers” or “carriers”) to

administer and pay Part B claims submitted by health care providers from the Medicare Trust

Fund. 42 U.S.C. §§ 1395h, 1395u; 42 C.F.R. §§ 421.3, 421.100. Physicians submit claims for



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payment to MACs on behalf of Medicare beneficiaries and, in turn, the MACs process and pay

those claims.

        33.      At all times relevant to this Complaint, Cahaba Government Benefit

Administrators, LLC (“Cahaba”) was the MAC that administered Medicare Part B claims

submitted by Defendants. 1

        34.      Medicare only pays for Part B services that are actually rendered, and that are

“reasonable and necessary for the diagnosis or treatment of illness or injury.” 42 U.S.C. §

1395y(a)(1)(A). Part B providers also must certify that services are medically necessary. 42

C.F.R. § 424.24(g)(1). Medicare will not reimburse a provider for services that are not reasonable

and necessary.

        35.      A provider may only submit a claim for a diagnostic test to Medicare if it was

ordered by the physician (or qualified non-physician practitioner) for the Medicare beneficiary to

treat a specific problem and the test was used by the provider to treat that problem. See 42 C.F.R.

§ 410.32. Medicare will not reimburse a provider for tests that do not meet these requirements.

        36.      Health care providers that wish to submit claims for Medicare reimbursement must

enroll in the Medicare Program. As part of the enrollment process, the provider must certify its

compliance with Medicare laws, regulations, and program instructions and conditions. See 42

C.F.R. § 424.510. Enrolled providers also have a duty to be knowledgeable of and comply with

the statutes, regulations, and program instructions and conditions regarding coverage for services

for which they seek reimbursement. See 42 C.F.R. § 424.516(a).

        37.      A participating provider must properly document in the patient’s medical record

the service or procedure performed. 42 C.F.R. § 410.32(d).


1 Cahaba continued to serve as the MAC for Georgia until February 26, 2018, at which time, Palmetto Government
Benefit Administrator, LLC (“Palmetto”) became the MAC for Georgia.

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        38.      Once the provider is enrolled or credentialed, the provider may submit claims to

Medicare for services rendered to the patients.

        39.      To obtain reimbursement from Medicare for certain outpatient items or services,

providers and suppliers submit a claim form known as the CMS-1500 form (“CMS-1500”) or

submit claims electronically using the 837P format (“837P”). The CMS-1500 contains the

following certifications:

              In submitting this claims for payment from federal funds, I certify that: 1) the
              information on this form is true, accurate, and complete; 2) I have familiarized
              myself with all applicable laws, regulations and program instructions, which
              are available from the Medicare contractor; 3) I have provided or will provide
              sufficient information required to allow the government to make an informed
              eligibility and payment decision; 4) this claim, whether submitted by me or on
              my behalf by my designated billing company, complies with all applicable
              Medicare and/or Medicaid laws, regulations, and program instructions for
              payment including but not limited to the Federal anti-kickback statute and
              Physician Self-Referral law (commonly known as Stark law); 5) the services on
              this form were medically indicated and necessary and personally furnished by
              me or were incident to my professional service by my employee under my direct
              supervision, except as otherwise permitted by Medicare or TRICARE … .

              NOTICE: Any one who misrepresents or falsifies essential information to
              receive payment from Federal funds requested by this form may upon
              conviction be subject to fine and imprisonment under applicable Federal laws


        40.      Providers who submit claims electronically under 837P must also execute an

Electronic Data Interchange (“EDI”) Enrollment Form with CMS.                By executing the EDI

Enrollment Form, a provider agrees to “be responsible for all Medicare claims submitted to CMS

by itself, its employees, or its agents,” and to “submit claims that are accurate, complete and

truthful.”

        41.      By executing an EDI Enrollment Form, a provider also acknowledges “that all

claims will be paid from Federal funds, that the submission of such claims is a claim for payment

under the Medicare program, and that anyone who misrepresents or falsifies or causes to be

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misrepresented or falsified any record or other information relating to that claim as required by

this Agreement may, upon conviction be subject to a fine and/or imprisonment under applicable

Federal law.” See, e.g., Cahaba Medicare Part B EDI Application (09/2013 v2.51); Interactive

EDI Agreement for Palmetto; EDI Enrollment for Novitas Solutions.

       42.     Among the information the provider includes on a CMS 1500 form or the 837P are

certain five-digit codes, including Current Procedural Terminology (“CPT”) and Healthcare

Common Procedure Coding System (“HCPCS”) codes, that identify the diagnosis, services

rendered and for which reimbursement is sought, and the unique billing identification number of

the “rendering provider” and the “referring provider or other source.” 45 C.F.R. § 162.1002(a)-

(b); Medicare Claims Processing Manual, Chapter 23, § 20.7 et seq. CMS assigns reimbursement

amounts to CPT and HCPCS codes.

       43.     Providing accurate CPT and HCPCS codes on claims submission forms is material

to and a condition of payment for the Federal Health Care Programs. See, e.g., Medicare Learning

Network Fact Sheet, Medicare Billing: 837P and Form CMS-1500.

       44.     Because it is not feasible for Medicare personnel to review every patient’s medical

records for the millions of claims for payments they receive from providers, the program relies on

providers to comply with Medicare requirements and trusts providers to submit truthful and

accurate certifications and claims.

       45.     Generally, once a provider submits the CMS-1500 or electronic 837P to Medicare,

the claim is paid directly to the provider without any review of supporting documentation,

including medical records.




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                                  FACTUAL ALLEGATIONS

       46.     At all times relevant to this Complaint, Ellis and EPC were enrolled as suppliers of

healthcare services to Medicare beneficiaries.

       47.     Under the terms of the enrollment applications that they submitted, Ellis and EPC

agreed to comply with all of the conditions imposed upon them by applicable federal law and

regulations, including the requirement that they submit claims for reimbursement only for services

that were actually performed and that were medically necessary.

       48.     Ellis and EPC thus knew, recklessly disregarded or were deliberately ignorant of

the conditions for reimbursement of medical services under the Medicare Program.

       49.     Nonetheless, Defendants implemented a scheme by which they submitted and

caused the submission of claims to Medicare for urine drug testing and ancillary testing that was

never rendered and/or was medically unnecessary.

   I. Urine Drug Testing

       50.     Although testing urine for drugs may be an appropriate means to analyze and

monitor the treatment of patients who are prescribed opioids on a long-term basis, Defendants used

this tool as a means to bilk the United States out of millions of dollars.

       51.     Drug testing is used to determine the presence or absence of drugs or metabolites,

also known as “analytes,” in a patient’s system.

       52.     Urine is the most common medium used for drug testing, and was the medium for

testing used by EPC at all times relevant to the Complaint.

       53.     Drug testing is performed in a number of contexts.            Some workplaces have

mandatory drug testing requirements, in some instances required by federal regulations. In the

clinical health care context, urine drug tests are used to verify whether patients are taking their



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prescribed drugs as directed and\or and to confirm that the patient is not taking other drugs,

including illicit ones, which could interfere with their treatment or pose risks of overdose. For this

reason, providers often perform drug tests on patients who are prescribed pain medications at

appropriate intervals when medically necessary to manage the patient’s care. When urine drug

testing has been conducted and is medically necessary, Medicare will provide reimbursement for

such tests.

        Drug Screening Tests:

        54.    Common practice in the medical community is to first order a drug screening test

of a urine specimen (“drug screening test”) to detect the presence or absence of drugs or analytes

in the sample. A drug screening test can also be referred to as a qualitative test, because it does

not need to detect the specific amount of the drug in the urine specimen.

        55.    A drug screening test can be conducted using a “Point of Care” drug test cup (“POC

test cup”) that has a number of built-in drug tests strips, each of which tests for a specific drug or

drug class. In such cups, where a drug is present in the urine sample, the corresponding test strip

will react and so indicate the presence of the drug in the patient’s urine.

        56.    A drug screening test also can be conducted using an immunoassay analyzer

machine, known as a “desktop” or “benchtop” analyzer, which are more sophisticated and

generally reimbursed at higher levels than POC test cups.

        57.    A typical drug screening test panel (whether by POC test cup or immunoassay

analyzer) may include testing for the presence of cocaine, opiates, amphetamines,

benzodiazepines, barbiturates and methadone.

        58.    At all times relevant to this Complaint, Medicare only accepted HCPCS procedure

codes G0431 and G0434 for drug screening tests: G0431 was used for high-complexity analyzer



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tests and G4034 was used for POC test cup tests. EPC, at the direction Ellis and Allen, billed

Medicare for its drug screening tests almost entirely under G0431. Under the G0431 code, a

physician could only submit a single claim to Medicare for a drug screening test conducted on a

beneficiary on a particular date of service, regardless of how many drug classes were being tested.

       Confirmation Tests:

       59.     Depending on the initial results from the drug screening test, it may be medically

appropriate to perform a confirmation test on the same urine specimen to check the accuracy of

the drug screen test results. The clinical utility of a confirmation test depends, in part, on whether

the drug screening test result is expected or unexpected, the patient’s drug abuse history and

clinical presentation.

       60.     For example, if a patient is prescribed a certain drug, such as Xanax, a positive POC

test result for benzodiazepines (of which Xanax is one) would be expected. If the test result is

negative for benzodiazepines, however, and the patient insists that she is taking her Xanax as

prescribed, it may be reasonable and necessary to conduct a quantitative laboratory test to

“confirm” the accuracy of the unexpected negative screening test result.

       61.     Similarly, if a patient’s POC test yielded a positive result for a non-prescribed or

illicit drug, then it may be reasonable and necessary to conduct a quantitative laboratory test to

evaluate (i.e., “confirm”) this unexpected positive result.

       62.     Importantly, the confirmation test should use a different methodology than the drug

screening test. That is, it would not be appropriate to use an immunoassay analyzer to confirm a

screening test that also used an immunoassay analyzer.

       63.     At all times relevant to this Complaint, EPC billed Medicare for its confirmation

tests under procedure codes 80102 and G6058.



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       Quantitative Tests:

       64.     In some cases, it may be medically appropriate to perform a quantitative drug test

to determine the specific concentration of a specific drug in a patient’s system.

       65.     Quantitative drug testing is performed by more precise methodologies than an

immunoassay analyzer, such as column chromatography in combination with mass spectrometry.

Such methods include gas chromatography with mass spectrometry (“GCMS”) and liquid

chromatography with mass spectrometry (“LCMS”). These testing methodologies can provide

quantitative results, identifying the concentration of a drug or analyte in a urine sample.

       66.     LCMS technology enables the lab to test urine specimens for numerous drugs and

analytes during a single run of an aliquot of a urine sample through the LCMS machine.

       67.     From 2012 through 2015, EPC generally billed Medicare for quantitative tests for

each drug or drug class tested, using CPT and Medicare billing codes assigned for quantitative

tests of each drug or class and, in some cases, multiple units of those codes.

       68.     The testing equipment needed to conduct a quantitative test is much more

sophisticated than what is needed to perform a drug screening test. Thus, quantitative testing is

more expensive to perform and reimbursed at a higher rate than drug screening tests.

       69.     EPC did not acquire the equipment necessary to conduct mass spectrometry testing

until July 2013, and did not begin using it until August 2013.

       70.     At all times relevant to this Complaint, including a time period prior to the

acquisition and use of the mass spectrometry equipment, EPC, at the direction of Ellis and Allen,

billed Medicare for quantitative tests under procedures codes in the 80000 series and, later, under

HCPCS codes in the G6000 series.




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           Guidelines on Urine Drug Testing:

           71.     Several organizations have published guidelines regarding urine drug testing in the

clinical setting, including for chronic pain patients prescribed opioids. According to the Substance

Abuse and Mental Health Services Administration (“SAMSHA”), the development of urine drug

testing guidelines in the clinical setting draws on the experience of workplace drug testing,

including the Federal Drug-Free Workplace Program and its guidelines (“Federal Workplace

Guidelines”). See 73 Fed. Reg. 71858 (Nov. 25, 2008).

           72.     Under the Federal Workplace Guidelines, a “Negative Result” includes results

reported by certified laboratories when a valid specimen “contains no drug or the concentration of

the drug is less than the cutoff concentration for that drug or drug class.” Id. at 71878 (Sec. 1.5).

Laboratories may report a valid specimen as “negative” when “each initial drug test is negative[.]”

Id. at 71894.         Under the Federal Workplace Guidelines, a negative result on these initial

immunoassay tests do not require confirmation testing by another method. See id.

           73.     None of these guidelines recommended the routine use of quantitative urine drug

testing.

           74.     At all times relevant to the Complaint, these guidelines were publicly available and

could be accessed by Ellis and Allen.

           LCDs:

           75.     National Government Services, one of the MACs that administered claims

submitted to Medicare, issued a Local Coverage Determination (“LCD”) for drug screening tests

(L28145), effective July 18, 2008 through September 30, 2015, which allowed for testing “when

the result of the drug screen is different than that suggested by the patient’s medical history, clinical

presentation or patient’s own statement.”



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       76.     On or around October 1, 2015, Cahaba issued Local Coverage Determination

(“LCD”) L34501, entitled “Pathology and Laboratory: Qualitative Drug Testing,” which states

that drug screening tests “may be followed by confirmation with a second method, only if there is

a positive or negative finding inconsistent with the setting of a symptomatic patient.” In other

words, the results must be received and analyzed prior to the provider ordering the quantitative

testing. Cahaba further indicated: “Routine ‘per visit’ drug testing in chronic pain patients is

noncovered.” Thus, providers may not use a standing order that authorizes the same set of tests

for each patient.

       77.     As of June 15, 2015, Cahaba provided notice to providers that effective October 1,

2015, LCD L35920, entitled “Pathology and Laboratory: Quantitative Drug Testing,” would go

into effect.   This LCD expressly stated: “[P]hysician-directed definitive profile testing is

reasonable and necessary when ordered for a particular patient based upon historical use and

community trends. However, the same physician-defined profile is not reasonable and necessary

for every patient in a physician’s practice. Definitive UDT [urine drug testing] orders should be

individualized based on clinical history and risk assessment, and must be documented in the

medical record. Some labs offer comprehensive definitive drug testing panel (“CDDP”) of 40 or

more drugs.     It is not reasonable and necessary to bill individual billing codes for this

comprehensive testing.”

       78.     Cahaba further indicated: “Routine standing orders for all patients in a physician’s

practice are not reasonable and necessary. Physician-defined standing orders for pre-determined

drug panels according to specific patient profiles for a limited sequential period may be reasonable

and necessary and must be documented in the patient’s medical record.”




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        79.      Palmetto’s LCD 35724, which was effective October 1, 2015, did not allow for any

standing orders with respect to drug screening tests, and instead required providers to engage in a

patient-specific risk analysis to determine how often drug screening tests should be performed on

patients. For low risk patients, random testing should occur “1-2 times every 12 months for

prescription medications, non-prescribed medication that may pose a safety risk if taken with

prescribed medications, and illicit substances, based on patient history, clinical presentation,

and/or community usage.” For moderate risk patients, random testing should occur one to two

times every six months. For high risk patients, random testing should be performed one to three

times every three months.       Palmetto also did not reimburse for specimen “validity testing

including, but not limited to, pH, specific gravity, oxidants, creatinine.”

        80.      The prior relevant LCD for Palmetto, LCD 35105, which was effective December

15, 2014, contained similar language.

        81.      Ellis and Allen had access to these LCDs at all times relevant to the Complaint. In

particular, Ellis and Allen would have received the LCDs issued by Cahaba directly from Cahaba,

which was their MAC, in 2015.

        A. EPC’s Urine Drug Testing Equipment

        82.      Prior to 2011, EPC used POC testing cups to conduct drug screening tests on its

patients.     EPC would then send the urine specimen to an outside reference laboratory for

confirmation testing. Under this arrangement, EPC would bill Medicare for the drug screening

tests, and the outside laboratory would bill Medicare for any additional drug tests that it conducted

on EPC’s patients.




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       83.     In 2010 or 2011, EPC obtained a Synamed IR-500 benchtop immunoassay analyzer

(“IR-500”) from Select Laboratory Partners, Inc. (“Select Lab”). Shortly after EPC began using

the IR-500, EPC stopped sending its urine specimens to an outside reference laboratory.

       84.     Due to its high volume of patients, EPC obtained a second IR-500 to conduct urine

drug testing on or around 2013.

       85.     The IR-500 uses enzyme immunoassays (“reagents”) to test for the presence of a

particular drug classes in the urine specimen.

       86.     The reagents that EPC used with its IR-500 between 2012 and 2015 were

manufactured by Lin-Zhi International, Inc. (“Lin-Zhi”) and were provided to EPC by Select Lab.

       87.     None of the Lin-Zhi reagents that EPC used between January 2012 and November

2013 to conduct its urine testing, with the exception of the reagents for creatinine and

alcohol/ethanol, were cleared by the FDA to provide quantitative results. To the contrary, the

labels enclosed with the Lin-Zhi reagents contained the following limitation: “[T]he test is not

intended for quantifying the analytes in patient samples.”

       88.     In July 2013, EPC purchased Liquid Chromatography/Mass Spectrometry

(“LCMS”) equipment from Select Lab. EPC began using the LCMS in August 2013.

       B. EPC’s Use Of “Shortcuts”

       89.     In 2011 or 2012, Ellis and Allen directed Coastal Medical Billing, Inc. (“Coastal”),

the third-party billing company for EPC, to create a series of “shortcuts” in the billing software

that Coastal used to submit EPC’s claims to Medicare and other payers.

       90.     The “shortcuts” operated as follows: Ellis and Allen would tell Coastal which drug

tests it wanted to include in a shortcut. Coastal would create the shortcut and provide the name of

the shortcut to Ellis and Allen. When an EPC employee entered the name of the shortcut into the



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billing software, the software automatically populated EPC’s electronic claim form with the codes

for the pre-determined tests that had been selected by Ellis and Allen.

       91.     One of the shortcuts that EPC used during the relevant time period was called

“UDSM.”

       92.     Allen directed the EPC employee in charge of billing to enter the UDSM shortcut

into the billing software every time “urine drug screen” was circled on a patient’s superbill, if the

patient was a Medicare or Medicaid beneficiary (a separate shortcut called “UDS” was used for

non-Medicare and non-Medicaid patients).

       93.     In late January 2012, if the EPC employee entered the UDSM shortcut into the

billing software, the following tests would automatically populate the claim form, even though

there was no indication on the superbill that the tests had been conducted:

       Procedure       Procedure Description
       Code
       G0431           Drug screening test
       80102           Drug confirmation test
       82570           Creatinine level to test for kidney function or muscle injury
       83986           Body fluid pH level
       82055           Alcohol (ethanol) level
       80154           Benzodiazepines level
       82145           Amphetamines or methamphetamine level
       82205           Barbiturates level
       82520           Cocaine (drug) level
       82542           Chemical analysis using chromatography technique
       83840           Methadone level
       83925           Opiates (drug) measurement (3 units)


       94.     As a result, instead of only submitting a claim to Medicare for the drug screening

test that was conducted, EPC would use the UDSM shortcut to automatically add additional tests

that it never conducted to the claim that it submitted to Medicare.



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       95.     Medicare, relying on EPC’s representation that it had conducted all of the tests

included on its claim form, would reimbursed EPC for all of those tests.

       96.     If Medicare had known that EPC included tests on its claims that it never conducted,

it would not have reimbursed EPC for those tests.

       97.     Ellis and Allen would occasionally direct Coastal to change the specific tests

included in each particular shortcut; however, the shortcuts did not vary by patient or reflect the

individual patients’ respective needs.

       C. EPC Billed For Confirmation Tests That It Never Conducted.

       98.     A confirmation test must be conducted separately from, and using a different

methodology than, the drug screening test that it is meant to confirm.

       99.     EPC’s employees and physicians were made aware of this requirement as early as

December 2010, when EPC received a letter from coding trainer Linda Van Horn stating as much.

       100.    During all times relevant to this Complaint, Ellis and Allen were aware of this

requirement.

       101.    Despite this, from January 2012 through early May 2012, EPC, at the direction of

Ellis and Allen, used the UDSM shortcut to automatically bill Medicare for both a drug screening

test and a drug confirmation test, even though it only ran a single test on the beneficiary’s urine

specimen.

       102.    Moreover, the IR-500 that EPC used during this time period did not have the

capability to run a confirmation test.

       103.    The Lin-Zhi reagents that EPC used to run the drug screening tests on its IR-500

enclosed a label that warned the user that a more specific alternative chemical method must be




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used in order to obtain a confirmed analytical result. The label recommended using a GC/MS or

LC/MS to run the confirmation test, neither of which EPC had at that time.

       104.    As a result, EPC used the UDSM shortcut, at the direction of Ellis and Allen, to bill

Medicare for confirmation tests that it had never conducted.

       Patient E.A.

       105.    For example, Medicare beneficiary E.A. was given a drug screening test when she

came to EPC on January 25, 2012; she was not given any other urine drug tests.

       106.    The only urine drug test indicated on E.A.’s superbill for January 25, 2012 was a

“ten panel urine drug screen.”

       107.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused a

confirmation test and 12 additional urine drug tests, in addition to the drug screening test, to

automatically populate the claim form for E.A.’s January 25, 2012 visit:

       Procedure      Procedure Description
       Code
       G0431          Drug screening test
       80102          Drug confirmation test
       82570          Creatinine level to test for kidney function or muscle injury
       83986          Body fluid pH level
       82055          Alcohol (ethanol) level
       80154          Benzodiazepines level
       82145          Amphetamines or methamphetamine level
       82205          Barbiturates level
       82520          Cocaine (drug) level
       82542          Chemical analysis using chromatography technique
       83840          Methadone level
       83925          Opiates (drug) measurement (3 units)


       108.    EPC submitted the claim for the confirmation test (and other tests) to Medicare on

or around January 26, 2012.

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         109.   Medicare reimbursed EPC in the amount of $75.04 for the confirmation test that

EPC had included on the claim form for E.A.’s January 25, 2012 visit on or around January 30,

2012.

         110.   If Medicare had known that EPC had not actually conducted the confirmation test

for E.A. on January 25, 2012, it would not have reimbursed EPC for the test.

        Patient G.A.

         111.   Medicare beneficiary G.A. was given a drug screening test when she came to EPC

on March 7, 2012; she was not given any other urine drug tests.

         112.   The only urine drug test indicated on G.A.’s superbill for March 7, 2012 was a “ten

panel urine drug screen.”

         113.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused a

confirmation test and 12 additional urine drug tests, in addition to the drug screening test, to

automatically populate the claim form for G.A.’s March 7, 2012 visit:

         Procedure     Procedure Description
         Code
         G0431         Drug screening test
         80102         Drug confirmation test
         82570         Creatinine level to test for kidney function or muscle injury
         83986         Body fluid pH level
         82055         Alcohol (ethanol) level
         80154         Benzodiazepines level
         82145         Amphetamines or methamphetamine level
         82205         Barbiturates level
         82520         Cocaine (drug) level
         82542         Chemical analysis using chromatography technique
         83840         Methadone level
         83925         Opiates (drug) measurement (3 units)




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       114.    EPC submitted the claim for the confirmation test (and other tests) to Medicare on

March 12, 2012.

       115.    Medicare reimbursed EPC in the amount of $75.04 for the confirmation test that

EPC had included on the claim form for G.A.’s March 7, 2012 visit on or around March 15, 2012.

       116.    If Medicare had known that EPC had not actually conducted the confirmation test

for G.A. on March 7, 2012, it would not have reimbursed EPC for the test.

       Patient M.A.

       117.    Medicare beneficiary M.A. was given a drug screening test when she came to EPC

on April 12, 2012; she was not given any other urine drug tests.

       118.    The only urine drug test indicated on M.A.’s superbill for April 12, 2012 was a “ten

panel urine drug screen.”

       119.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused a

confirmation test and 12 additional urine drug tests, in addition to the drug screening test, to

automatically populate the claim form for M.A.’s April 12, 2012 visit:

       Procedure      Procedure Description
       Code
       G0431          Drug screening test
       80102          Drug confirmation test
       82570          Creatinine level to test for kidney function or muscle injury
       83986          Body fluid pH level
       82055          Alcohol (ethanol) level
       80154          Benzodiazepines level
       82145          Amphetamines or methamphetamine level
       82205          Barbiturates level
       82520          Cocaine (drug) level
       82542          Chemical analysis using chromatography technique
       83840          Methadone level
       83925          Opiates (drug) measurement (3 units)


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       120.   EPC submitted the claim for the confirmation test (and other tests) to Medicare on

or around April 16, 2012.

       121.   Medicare reimbursed EPC in the amount of $75.04 for the confirmation test that

EPC had included on the claim form for M.A.’s April 12, 2012 visit on or around April 19, 2012.

       122.   If Medicare had known that EPC had not actually conducted the confirmation test

for G.A. on April 12, 2012, it would not have reimbursed EPC for the test.

       Patient D.A.

       123.   Medicare beneficiary D.A. was given a drug screening test when he came to EPC

on May 1, 2012; he was not given any other urine drug tests.

       124.   The only urine drug test indicated on D.A.’s superbill for May 1, 2012 was a “ten

panel urine drug screen.”

       125.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused a

confirmation test and 12 additional urine drug tests, in addition to the drug screening test, to

automatically populate the claim form for D.A.’s May 1, 2012 visit:

       Procedure      Procedure Description
       Code
       G0431          Drug screening test
       80102          Drug confirmation test
       82570          Creatinine level to test for kidney function or muscle injury
       83986          Body fluid pH level
       82055          Alcohol (ethanol) level
       80154          Benzodiazepines level
       82145          Amphetamines or methamphetamine level
       82205          Barbiturates level
       82520          Cocaine (drug) level
       82542          Chemical analysis using chromatography technique
       83840          Methadone level
       83925          Opiates (drug) measurement (3 units)


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       126.    EPC submitted the claim for the confirmation test (and other tests) to Medicare on

or around May 2, 2012.

       127.    Medicare reimbursed EPC in the amount of $75.04 for the confirmation test that

EPC had included on the claim form for D.A.’s May 1, 2012 visit on or around May 5, 2012.

       128.    If Medicare had known that EPC had not actually conducted the confirmation test

for G.A. on May 1, 2012, it would not have reimbursed EPC for the test.

       129.    EPC stopped billing Medicare for confirmation tests in May 2012, but re-started

billing for confirmation tests in May 2015 as part of a new shortcut when Ellis and Allen directed

Coastal to create call “LCMSM.”

       130.    When an EPC employee entered the LCMSM shortcut in the billing software, it

automatically populated the claim form with the codes for a confirmation test and a series of

quantitative tests that had been pre-selected by Ellis and Allen.

       Patient L.H.

       131.    For example, Medicare beneficiary L.H. was given a drug screening test when she

came to EPC on July 27, 2015.

       132.    The drug screening teste indicated the presence of methadone in L.H.’s urine

specimen.

       133.    EPC ran L.H.’s urine specimen on the LCMS.

       134.    Upon information and belief, the EPC employee in charge of billing entered the

LCMSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

5 confirmation tests and 9 quantitative tests to automatically populate the claims form for L.H.’s

July 27, 2015 visit:




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           Procedure     Procedure Description
           Code
           G6058         Drug confirmation, each procedure (5 units)
           G6031         Benzodiazepines level
           G6042         Amphetamines or methamphetamine level
           G6044         Cocaine or metabolite level
           G6053         Methadone level
           83992         PCP drug level
           G6056         Opiates (drug) and metabolites measurement (4 units)


           135.   On or around August 13, 2015, EPC submitted a claim to Medicare for the

confirmation and quantitative tests.

           136.   Medicare reimbursed EPC in the amount of $21.78 (methadone) and $17.67 for

each confirmation test on or around August 17, 2015.

           137.   If Medicare had known that EPC had billed the single methadone quantitative test

that EPC ran on the LCMS as both a confirmation test and a methadone quantitative test, it would

not have reimbursed EPC for both of those tests.

           D. EPC’s Billed For Quantitative Tests That It Never Conducted.


           134.   EPC did not have the equipment needed to run quantitative urine drug tests (other

than for creatinine and alcohol/ethanol) between January 2012 and early July 2013.

           135.   The only equipment that EPC used for urine drug testing from January 2012

through July 2013 was the IR-500.

           136.   The Lin-Zhi reagents that EPC used with the IR-500 to conduct the urine drug tests

(other than creatinine and alcohol/ethanol) were not cleared by the FDA to conduct quantitative

testing.




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        137.   The label enclosed with the Lin-Zhi reagents (other than creatinine and

alcohol/ethanol) expressly stated that the reagents were not intended for quantifying the analytes

in the patient sample.

        138.   The IR-500 that EPC used during this time period was neither calibrated nor

customized to run quantitative urine drug tests.

        139.   Despite this, EPC used the UDSM shortcut, at the direction of Ellis and Allen, to

bill a single run on the IR-500 as a drug screening test and several different quantitative tests to

Medicare, during the January 2012 through July 2013 time period.

        140.   As a result, EPC used the UDSM shortcut, at the direction of Ellis and Allen, to bill

Medicare for quantitative tests that it never conducted.

        Patient E.A.

        141.   For example, Medicare beneficiary E.A. was given a drug screening test when she

came to EPC on January 25, 2012; she was not given any other urine drug tests.

        142.   The only urine drug test indicated on E.A.’s superbill for January 25, 2012 was a

“ten panel urine drug screen.”

        143.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused a

confirmation test and 12 quantitative urine drug tests to automatically populate the claim form for

E.A.’s January 25, 2012 visit.

        144.   EPC submitted the claim for E.A.’s January 25, 2012 visit on or around January 26,

2012.

        145.   At the time EPC submitted the claim for E.A.’s January 25, 2012 visit, EPC did not

have the equipment to run the following 9 quantitative urine drug tests included on the claim:



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       Procedure      Procedure Description
       Code
       80154          Benzodiazepines level
       82145          Amphetamines or methamphetamine level
       82205          Barbiturates level
       82520          Cocaine (drug) level
       82542          Chemical analysis using chromatography technique
       83840          Methadone level
       83925          Opiates (drug) measurement (3 units)


       146.    Medicare reimbursed EPC in the amount of $192.33 for the 9 quantitative urine

drug tests that EPC had included on the claim form for E.A.’s January 25, 2012 visit.

       147.    If Medicare had known that EPC had not actually conducted 9 quantitative urine

drug tests for E.A. on January 25, 2012, it would not have reimbursed EPC for the tests.

       148.    The following are additional examples of claims that EPC submitted to Medicare

for the same 9 quantitative urine drug tests, even though it never conducted those tests:

        Medicare      Date of test   Date claim submitted    Date claim paid    Amount paid by
       beneficiary                       to Medicare          by Medicare         Medicare
       G.A.          3/7/2012        3/12/2012              3/15/2012           $192.33
       M.A.          4/12/2012       4/16/2012              4/19/2012           $192.33
       D.A.          5/1/2012        5/2/2012               5/5/2012            $192.33
       P.A.          5/22/2012       5/24/2012              6/1/2012            $192.33
       S.S.          7/17/2012       7/18/2012              7/21/2012           $192.33
       E.A.          10/24/2012      10/25/2012             10/29/2012          $192.33
       B.S.          11/8/2012       11/13/2012             11/16/2012          $192.33
       J.S.          12/14/2012      12/17/2012             12/20/2012          $192.33
       G.S.          12/17/2012      12/19/2012             12/22/2012          $192.33
       M.A.          12/28/2012      1/3/2013               1/7/2013            $192.33
       P.A.          1/2/2013        1/7/2013               1/14/2013           $186.63
       D.L.          3/25/2013       3/26/2013              3/29/2013           $186.63
       L.J.          6/27/2013       8/5/2013               8/8/2013            $182.90




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        149.   Even though EPC began using the LCMS, which had the capability of conducting

quantitative tests, in August 2013, EPC continued to bill Medicare for quantitative tests even when

it did not use the LCMS.

        150.   Between August 2013 and early November 2013, EPC used the UDSM shortcut, at

the direction of Ellis and Allen, to automatically bill Medicare for quantitative tests every time a

urine drug screening test was conducted on the IR-500. As a result, EPC used the UDSM shortcut,

at the direction of Ellis and Allen, to bill Medicare for quantitative tests that it never conducted.

      Patient K.J.

        151.   For example, Medicare beneficiary K.J. was given a drug screening test that was

run on the IR-500 when she came to EPC on August 14, 2013; she was not given any other urine

drug tests.

        152.   The only urine drug test indicated on K.J.’s superbill for August 14, 2013 was a

“Ten Panel Urine Drug Screen 60 Per panel.”

        153.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the following 10 quantitative tests to automatically populate the claim form for K.J.’s August 14,

2013 visit, even though the IR-500 was not capable of running these tests.

        Procedure      Procedure Description
        Code
        80154          Benzodiazepines level
        82145          Amphetamines or methamphetamine level
        82205          Barbiturates level
        82520          Cocaine (drug) level
        82542          Chemical analysis using chromatography technique
        83840          Methadone level
        84311          Chemical analysis using spectrophotometry (light)
        83925          Opiates (drug) measurement (3 units)


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        154.   EPC submitted the claim for these tests to Medicare on our around September 23,

2013.

        155.   Medicare reimbursed EPC in the amount of $132.08 for the 10 quantitative urine

drug tests that EPC had included on the claim form for K.J.’s August 14, 2013 visit.

        156.   If Medicare had known that EPC had not actually conducted the 10 quantitative

urine drug tests for K.J. on August 14, 2013, it would not have reimbursed EPC for the tests.

        E. EPC Billed for Urine Drug Tests That Were Never Ordered.

        157.   Medicare only reimburses for tests that are reasonable and necessary for the

diagnosis and treatment of illness or injury. See 42 U.S.C. § 1395y(a)(1)(A). See also 42 U.S.C.

§ 1320c-5(a); 42 C.F.R. § 411.15(k)(1).

        158.   In order to be deemed reasonable and necessary, a test must be ordered by the

Medicare beneficiary’s treating physician (or qualified non-physician practitioner) for a specific

medical problem. See 42 C.F.R. § 410.32(a).

        159.   Between 2012 and 2015, EPC, at the direction of Ellis and Allen, billed Medicare

for confirmation drug tests and quantitative drugs tests that were never ordered by the treating

physician (or qualified non-physician practitioner) and, therefore, were not reimbursable by

Medicare.

        160.   The following are examples of the claims that EPC submitted to Medicare in which

it billed for confirmation tests that were never ordered by the beneficiary’s treating physician (or

qualified non-physician practitioner):




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        Medicare     Date of test   Date claim submitted     Date claim paid    Amount paid by
       beneficiary                      to Medicare           by Medicare         Medicare for
                                                                                 Confirmation
                                                                                      Test
       E.A.          1/25/2012      1/26/2012               1/30/2012           $75.04
       G.A.          3/7/2012       3/12/2012               3/15/2012           $75.04
       M.A.          4/12/2012      4/16/2012               4/19/2012           $75.04
       D.A.          5/1/2012       5/2/2012                5/5/2012            $75.04



       161.    If Medicare had known that there were no orders from the beneficiary’s treating

physician (or qualified non-physician practitioner) for these confirmation tests, it would not have

reimbursed EPC for the tests.

       162.    The following are examples of claims that EPC submitted to Medicare in which it

billed for quantitative tests that were never ordered by the beneficiary’s treating physician (or

qualified non-physician practitioner):

        Medicare     Date of test      Date claim     Date claim paid      Amount paid by
       beneficiary                    submitted to     by Medicare           Medicare for
                                       Medicare                           Quantitative Tests
       E.A.          1/25/2012      1/26/2012         1/30/2012         $220.03
       G.A.          3/7/2012       3/12/2012         3/15/2012         $220.03
       M.A.          4/12/2012      4/16/2012         4/19/2012         $220.03
       D.A.          5/1/2012       5/2/2012          5/5/2012          $220.03
       P.A.          5/22/2012      5/24/2012         6/1/2012          $220.03
       S.S.          7/17/2012      7/18/2012         7/21/2012         $220.03
       E.A.          10/24/2012     10/25/2012        10/29/2012        $220.03
       B.S.          11/8/2012      11/13/2012        11/16/2012        $220.03
       J.S.          12/14/2012     12/17/2012        12/20/2012        $220.03
       G.S.          12/17/2012     12/19/2012        12/22/2012        $220.03
       M.A.          12/28/2012     1/3/2013          1/7/2013          $229.23
       P.A.          1/2/2013       1/7/2013          1/14/2013         $223.12
       D.L.          3/25/2013      3/26/2013         3/29/2013         $223.12
       L.J.          6/27/2013      8/5/2013          8/8/2013          $218.66
       K.J.          8/14/2013      9/23/2013         9/26/2013         $156.09




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       163.    If Medicare had known that there were no orders from the beneficiary’s treating

physician (or qualified non-physician practitioner) for these quantitative tests, it would not have

reimbursed EPC for the tests.

       F. EPC Billed for Urine Drug Tests That Had No Clinical Utility.

       164.    Between January 2012 and November 2013, EPC, at the direction of Ellis and

Allen, used the UDSM shortcut to bill Medicare automatically for confirmation tests and/or

quantitative drug tests every time it billed for a drug screening test, regardless of whether there

was any indication of medical necessity for the test in the patient’s records.

       Patient D.K.

       165.    Medicare beneficiary D.K. was given a drug screening test when she came to EPC

on May 17, 2012.

       166.    The drug screening test indicated the presence of opiates and benzodiazepines in

D.K.’s urine specimen.

       167.    At that time, D.K. had been prescribed Percocet and MS Contin, which are opioids.

       168.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the following 9 tests, which were not medically necessary, to automatically populate the claims

form for D.K.’s May 17, 2012 visit:

       Procedure       Procedure Description
       Code
       80154           Benzodiazepines level
       82145           Amphetamines or methamphetamine level
       82205           Barbiturates level
       82520           Cocaine (drug) level
       82542           Chemical analysis using chromatography technique
       83840           Methadone level
       83925           Opiates (drug) measurement (3 units)

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         169.   On or around May 21, 2012, EPC submitted a claim to Medicare for the quantitative

tests.

         170.   Medicare reimbursed EPC in the amount of $192.33 for the 9 quantitative tests on

or around May 24, 2012.

         171.   If Medicare had known that the quantitative tests were not medically necessary, it

would not have reimbursed EPC for those tests.

         Patient L.F.

         172.   Medicare beneficiary L.F. was given a drug screening test when she came to EPC

on July 3, 2012.

         173.   The drug screening test indicated the presence of benzodiazepines and oxycodone

in L.F.’s urine specimen.

         174.   At that time, L.F. had been prescribed Xanax, a benzodiazepine, and oxycodone.

         175.   The office note indicated that L.F. showed no aberrant drug related behavior.

         176.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused 9

quantitative tests, which were not medically necessary, to automatically populate the claims form

for L.F.’s July 3, 2012 visit:

         Procedure      Procedure Description
         Code
         80154          Benzodiazepines level
         82145          Amphetamines or methamphetamine level
         82205          Barbiturates level
         82520          Cocaine (drug) level
         82542          Chemical analysis using chromatography technique
         83840          Methadone level
         83925          Opiates (drug) measurement (3 units)

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        177.    On our around July 9, 2012, EPC submitted a claim to Medicare for the 9

quantitative tests.

        178.    Medicare reimbursed EPC in the amount of $192.33 for the quantitative tests on or

around July 13, 2012.

        179.    If Medicare had known that the quantitative tests were not medically necessary, it

would not have reimbursed EPC for the tests.

        Patient R.T.

        180.    Medicare beneficiary R.T. was given a drug screening test when she came to EPC

on September 7, 2012.

        181.    The drug screening test indicated the presence of benzodiazepines and oxycodone

in R.T.’s urine specimen.

        182.    At that time, R.T. had been prescribed Zanaflex, Duragesic and Percocet, which

contains oxycodone.

        183.    The office visit noted indicated that R.T. showed no aberrant drug related behavior.

        184.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused 9

different quantitative tests, which were not medically necessary, to automatically populate the

claim form for R.T.’s September 7, 2012 visit:




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        Procedure      Procedure Description
        Code
        80154          Benzodiazepines level
        82145          Amphetamines or methamphetamine level
        82205          Barbiturates level
        82520          Cocaine (drug) level
        82542          Chemical analysis using chromatography technique
        83840          Methadone level
        83925          Opiates (drug) measurement (3 units)


        185.    On or around September 11, 2012, EPC submitted a claim to Medicare for the 9

quantitative tests.

        186.    Medicare reimbursed EPC in the amount of $192.33 for the quantitative tests on or

around September 14, 2012.

        187.    If Medicare had known that the quantitative tests were not medically necessary, it

would not have reimbursed EPC for the tests.

        Patient R.B.

        188.    Medicare beneficiary R.B. was given a drug screening test when she came to EPC

on November 7, 2012.

        189.    The drug screening test indicated the presence of opiates in R.B.’s urine specimen.

        190.    At that time, R.B. had been prescribed Dilaudid, an opioid, and Lortab, which

contains hydrocodone, an opiate.

        191.    The office visit note indicated that R.B. showed no aberrant drug related behavior.

        192.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused 9

different quantitative tests, which were not medically necessary, to automatically populate the

claims form for R.B.’s November 7, 2012 visit:


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          Procedure      Procedure Description
          Code
          80154          Benzodiazepines level
          82145          Amphetamines or methamphetamine level
          82205          Barbiturates level
          82520          Cocaine (drug) level
          82542          Chemical analysis using chromatography technique
          83840          Methadone level
          83925          Opiates (drug) measurement (3 units)


          193.   On or around November 8, 2012, EPC submitted a claim to Medicare for the 9

quantitative tests.

          194.   Medicare reimbursed EPC in the amount of $192.33 for the 9 quantitative tests on

or around November 12, 2012.

          195.   If Medicare had known that the quantitative tests were not medically necessary, it

would not have reimbursed EPC for the tests.

          Patient E.S.

          196.   Medicare beneficiary E.S. was given a drug screening test when he came to EPC

on January 7, 2013.

          197.   The drug screening tested indicated the presence of opiates.

          198.   At that time, E.S. had been prescribed Lortab, which contains hydrocodone, an

opiate.

          199.   The office visit note indicated that E.S. showed no aberrant drug related behavior.

          200.   Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the following 10 quantitative tests, which were not medically necessary, to automatically populate

the claims form for E.S.’s January 7, 2013 visit:


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        Procedure      Procedure Description
        Code
        80154          Benzodiazepines level
        82145          Amphetamines or methamphetamine level
        82205          Barbiturates level
        82520          Cocaine (drug) level
        82542          Chemical analysis using chromatography technique
        83840          Methadone level
        84311          Chemical analysis using spectrophotometry (light)
        83925          Opiates (drug) measurement (3 units)


        201.    On or around January 10, 2013, EPC submitted a claim to Medicare for the 10

additional tests.

        202.    Medicare reimbursed EPC in the amount of $196.24 for the 10 additional tests on

or around January 14, 2013.

        203.    If Medicare had known that the 10 additional tests were not medically necessary, it

would not have reimbursed EPC for those tests.

        Patient J.T.

        204.    Medicare beneficiary J.T. was given a drug screening test when she came to EPC

on March 6, 2013.

        205.    The drug screening test indicated the presence of opiates in J.T.’s urine specimen.

        206.    At that time J.T. had been prescribed Lortab, which contains hydrocodone, an

opiate and Tramadol, an opioid.

        207.    The office visit note indicated that J.T. showed no aberrant drug related behavior.

        208.    Upon information and belief, the EPC employee in charge of billing entered the

UDSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the following 10 quantitative tests and an additional spectrophotometry test, which were not

medically necessary, to automatically populate the claims form for J.T.’s March 6, 2013 visit.

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        Procedure      Procedure Description
        Code
        80154          Benzodiazepines level
        82145          Amphetamines or methamphetamine level
        82205          Barbiturates level
        82520          Cocaine (drug) level
        82542          Chemical analysis using chromatography technique
        83840          Methadone level
        84311          Chemical analysis using spectrophotometry (light)
        83925          Opiates (drug) measurement (3 units)


        209.    On or around March 18, 2013, EPC submitted a claim to Medicare for the 10

additional tests.

        210.    Medicare reimbursed EPC in the amount of $196.24 for the 10 additional tests on

or around March 21, 2013.

        211.    If Medicare had known that the quantitative tests were not medically necessary, it

would not have reimbursed EPC for those tests.

        LCMSM Shortcut

        212.    In 2013, Ellis and Allen directed Coastal to create a new shortcut called “LCMSM.”

        213.    When an EPC employee entered the LCMSM shortcut into the billing software, it

would automatically populate the claim form with a series of codes for quantitative tests.

        214.    Although Ellis and Allen directed Coastal to make changes to the tests that were

included in the LCMSM over time, the tests in the LCMSM shortcut did not vary based on

individual patient need.

        215.    As a result, EPC used the LCMSM shortcut between August 2013 and December

2015, at the direction of Ellis and Allen, to bill Medicare for a series of quantitative tests regardless

of whether they were medically necessary.



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     Patient L.C.

       216.    Medicare beneficiary L.C. was given a drug screening test when she came to EPC

on July 9, 2014.

       217.    The drug screening test indicated the presence of oxycodone, amphetamines and

benzodiazepines in L.C.’s urine specimen.

       218.    At that time, L.C. had been prescribed Roxicodone, a brand name for oxycodone,

Vyvanse, a stimulant and Valium, a benzodiazepine.

       219.    The office visit note indicated that L.C. showed no aberrant drug related behavior.

       220.    Upon information and belief, the EPC employee in charge of billing entered the

LCMSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the 14 quantitative tests to automatically populate the claims form for L.C.’s July 9, 2014 visit:

       Procedure      Procedure Description
       Code
       80154          Benzodiazepines level (2)
       82145          Amphetamines or methamphetamine level
       82520          Cocaine (drug) level
       83840          Methadone level (2)
       82646          Dihydrocodeinone (drug) measurement
       82649          Dihydromorphinone (drug) level
       83805          Meprobamate (sedative) level
       83992          PCP drug level
       83925          Opiates (drug) measurement (4 units)


       221.    On or around July 16, 2014, EPC submitted a claim to Medicare for 14 quantitative

tests, including tests to determine the quantity of amphetamines, cocaine, methadone and PCP in

L.C.’s urine specimen, even though such drugs were never prescribed to L.C. and the initial

screening test showed no indications of such drugs being present.




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       222.    Medicare reimbursed EPC in the amount of $335.95 for the quantitative tests on or

around July 19, 2014.

       223.    If Medicare had known that the confirmation and quantitative tests were not

medically necessary, it would not have reimbursed EPC for those tests.

       Patient M.M.

       224.    Medicare beneficiary M.M. was given a drug screening test when she came to EPC

on January 16, 2015.

       225.    The drug screening test indicated the presence of opiates and benzodiazepines in

M.M.’s urine specimen.

       226.    At that time, M.M. had been prescribed Fentanyl, an opioid, and Valium, a

benzodiazepine.

       227.    The office visit note indicated that M.M. showed no aberrant drug related behavior.

       228.    EPC physician’s assistant Kerri McKinney ordered a confirmation test “to verify

inconsistent UDS Assay results given patient history today and current prescribed medication.”

       229.    Upon information and belief, the EPC employee in charge of billing entered the

LCMSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the 14 additional tests to automatically populate the claims form for M.M.’s January 16, 2015 visit:

       Procedure        Procedure Description
       Code
       G6058            Drug confirmation (5 units)
       G6031            Benzodiazepines level
       G6042            Amphetamines or methamphetamine level
       G6044            Cocaine (drug) level
       G6053            Methadone level
       83992            PCP drug level
       G6056            Opiates (drug) measurement (4 units)




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       230.    A year and a half later, on July 12, 2016, EPC physician’s assistant McKinney

added a note to the January 16, 2015 note that said the urine drug screen on the LCMS was “ordered

to verify presence of fentanyl.”

       231.    On or around July 28, 2016, EPC submitted a claim to Medicare for 5 confirmation

tests and 9 quantitative tests, including tests to determine the quantity of amphetamines, cocaine,

methadone and phencyclidine in M.M.’s urine specimen.

       232.    Medicare reimbursed EPC in the amount of $291.72 for the confirmation and

quantitative tests on or around August 13, 2016.

       233.    If Medicare had known that the confirmation and quantitative tests were not

medically necessary, it would not have reimbursed EPC for those tests.

     Patient L.H.

       234.    Medicare beneficiary L.H. was given a drug screening test when she came to EPC

on July 27, 2015.

       235.    The drug screening test indicated the presence of oxycodone, benzodiazepines and

methamphetamine in L.H.’s urine specimen.

       236.    At that time, L.H. had been prescribed oxycodone and clonazepen, a

benzodiazepine.

       237.    Upon information and belief, the EPC employee in charge of billing entered the

LCMSM shortcut into the billing software, in accordance with Allen’s instructions, which caused

the 14 additional tests, only one of which was a methamphetamine quantitative test, to

automatically populate the claims form for L.H.’s July 27, 2015 visit:




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         Procedure     Procedure Description
         Code
         G6058         Drug confirmation (5 units)
         G6031         Benzodiazepines level
         G6042         Amphetamines or methamphetamine level
         G6044         Cocaine (drug) level
         G6053         Methadone level
         83992         PCP drug level
         G6056         Opiates (drug) measurement (4 units)


         238.   On or around August 13, 2015, EPC submitted a claim to Medicare for the 5

confirmation and 9 quantitative tests.

         239.   Medicare reimbursed EPC in the amount of $20.73 for the methadone quantitative

test and $270.99 for the 13 additional tests on or August 17, 2015.

         240.   If Medicare had known that the 13 additional tests were not medically necessary, it

would not have reimbursed EPC for those tests.

   II.      Ancillary Tests

         241.   EPC further maximized its revenue per patient by billing Medicare for a series of

ancillary tests on a pre-set schedule regardless of the individual signs, symptoms, complaints and

medical history of each patient.

         242.   Ellis and Allen created the pre-set schedule for performing the ancillary tests.

         243.   Ellis and Allen instructed EPC’s clinical providers to conduct each ancillary test

according to the pre-set schedule, without regard to the patient’s individual signs, symptoms,

complaints or medical history.

         244.   Ellis and Allen requested that EPC’s electronic medical records system alert the

provider when each test became “due” for a particular patient under the pre-set schedule.




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       245.    Medicare only pays for tests that are ordered by the treating physician (or qualified

non-physician practitioner) for a specific medical problem. See 42 C.F.R. § 410.32(a).

       246.    EPC’s practice of billing for ancillary tests that were performed on a pre-set

schedule regardless of their patients’ individual signs, symptoms, complaints and personal medical

history was inconsistent with the Medicare requirement that tests be ordered to address a specific

medical problem.

       247.    The claims that EPC submitted to Medicare for ancillary tests that were conducted

in the absence of signs, symptoms, complaints or relevant medical history warranting the medical

necessity of the tests were not reimbursable under the Medicare Program.

       248.    Ellis and Allen were aware that they were causing EPC to submit claims to

Medicare for ancillary tests that were not reimbursable by Medicare.

       Arterial Brachial Index (ABI) tests

       249.    EPC used procedure code 93922 and 93923 to bill Medicare for the Arterial

Brachial Index (ABI) tests that it performed on its patients.

       250.    EPC ordered the ABI test as a screening test rather than to address a specific

medical problem.

       251.    The following are some examples of claims submitted by EPC to Medicare for ABI

tests that were not medically necessary:

           a. Patient D.J.:     On or around April 16, 2012, EPC conducted an ABI test on

               Medicare beneficiary D.J.

                   i. D.J.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for the ABI

                       test.



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       ii. D.J. previously had an ABI test on October 4, 2011, and the results were

           normal.

       iii. EPC submitted a claim to Medicare for D.J.’s April 16, 2012 ABI test on or

           around April 17, 2012.

       iv. On or around April 20, 2012, Medicare reimbursed EPC for the April 16,

           2012 ABI test in the amount of $117.20.

       v. If Medicare had known that the ABI test was not reasonable and necessary,

           it would not have reimbursed EPC for the test.

 b. Patient C.A.: On or around September 13, 2012, EPC conducted an ABI test on

    Medicare beneficiary C.A.

        i. C.A.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the ABI

           test.

       ii. The medical records described the ABI test as “routine” and as a test that

           was conducted in order to “screen” for Peripheral Arterial Disease.

       iii. C.A. previously had an ABI test on March 1, 2012, and the results were

           normal.

       iv. EPC submitted a claim to Medicare for C.A.’s September 13, 2012 ABI test

           on or around September 17, 2012.

       v. On or around September 20, 2012, Medicare reimbursed EPC for the

           September 13, 2012 ABI test in the amount of $75.54.

       vi. If Medicare had known that the ABI test was not reasonable and necessary,

           it would not have reimbursed EPC for the test.



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           c. Patient D.W.:          On or around January 9, 2014, EPC conducted an ABI test on

               Medicare beneficiary D.W.

                    i. D.W.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for an ABI test.

                   ii. D.W.’s medical record indicated that the ABI test was “routine” and that it

                       was a screening test.

                   iii. EPC submitted a claim to Medicare for D.W.’s January 9, 2014 ABI test on

                       or around February 19, 2014.

                   iv. On or around February 22, 2014, Medicare reimbursed EPC for the January

                       9, 2014 ABI test in the amount of $63.59.

                   v. If Medicare had known that the ABI test was not reasonable and necessary,

                       it would not have reimbursed EPC for the test.

       ANSAR tests

       252.    EPC used procedure codes 95921 and 95922 to bill Medicare for the ANSAR tests

that it performed on its patients.

       253.    EPC ordered the ANSAR test as a means to assess the credibility of his patients’

complaints of pain rather than to address a specific medical problem.

       254.    The following are some examples of claims submitted by EPC to Medicare for

ANSAR tests that were not medically necessary:

           a. Patient E.A.: On or around September 26, 2012, EPC performed ANSAR tests on

               Medicare beneficiary E.A.




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        i. E.A.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           ANSAR test.

       ii. EPC had performed ANSAR tests on E.A. on three prior occasions (on

           March 28, 2012; October 7, 2011; and June 13, 2011), all of which were

           reviewed by clinicians who did not note any abnormalities.

       iii. The medical records indicated that E.A.’s ANSAR test on September 26,

           2012 were “routine.”

       iv. The medical records indicated that the September 26, 2012 ANSAR test

           were incomplete. There is no indication that the test were repeated.

       v. EPC submitted a claim to Medicare for E.A.’s September 26, 2012 ANSAR

           test on or around September 27, 2012.

       vi. On or around October 1, 2012, Medicare reimbursed EPC for the September

           26, 2012 ANSAR tests in the amount of $141.43.

      vii. If Medicare had known that the ANSAR test was not reasonable and

           necessary and, additionally, was never completed, it would not have

           reimbursed EPC for the tests.

 b. Patient J.T.: On or around February 5, 2013, EPC performed ANSAR tests on

    Medicare beneficiary J.T.

        i. J.T’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           ANSAR tests.




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       ii. J.T. previously had ANSAR tests on August 14, 2012 and February 21,

           2012. The clinicians did not note any abnormalities on the August 14, 2012

           test. The February 21, 2012 test was never completed (although it was

           billed to and paid by Medicare).

       iii. EPC submitted a claim to Medicare for J.T.’s February 5, 2013 ANSAR test

           on or around February 6, 2013.

       iv. On or around February 9, 2013, Medicare reimbursed EPC for the February

           5, 2013 ANSAR tests in the amount of $148.47.

       v. If Medicare had known that the ANSAR test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 c. Patient A.B.:    On or around July 9, 2012, EPC performed ANSAR tests on

    Medicare beneficiary A.B.

        i. A.B’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           ANSAR tests.

       ii. A.B. previously had ANSAR tests on May 17, 2010; October 4, 2010;

           March 21, 2011; August 8, 2011; and November 1, 2011. The clinicians

           did not note any abnormalities on these earlier tests.

       iii. The medical records described the July 9, 2012 ANSAR test as “routine.”

       iv. EPC submitted a claim to Medicare for A.B.’s July 9, 2012 ANSAR test on

           or around July 11, 2012.

       v. On or around July 14, 2012, Medicare reimbursed EPC for the July 9, 2012

           ANSAR tests in the amount of $141.43.



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                   vi. If Medicare had known that the ANSAR test was not reasonable and

                       necessary, it would not have reimbursed EPC for the test.

       EKG tests

       255.    EPC used procedure code 93000 to bill Medicare for the EKG tests that it

performed on its patients.

       256.    EPC ordered the EKG tests as screening tests rather than to address a specific

medical problem.

       257.    The following are some examples of claims submitted by EPC to Medicare for EKG

tests that were not medically necessary:

           a. Patient K.M.: On or around February 29, 2012, EPC conducted an EKG test on

               Medicare beneficiary K.M.

                    i. K.M.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for the EKG

                       test.

                   ii. The medical records indicated that the EKG test was “routine.”

                   iii. EPC submitted a claim to Medicare for K.M.’s February 29, 2012 EKG test

                       on or around March 1, 2012.

                   iv. On or around March 5, 2012, Medicare reimbursed EPC for the February

                       29, 2012 EKG test in the amount of $23.91.

                   v. If Medicare had known that the EKG test was not reasonable and necessary,

                       it would not have reimbursed EPC for the test.

           b. Patient T.C.: On or around February 27, 2014, EPC conducted an EKG test on

               Medicare beneficiary T.C.



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        i. T.C.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for an EKG

           test.

       ii. The medical records indicated that the EKG test was “routine.”

       iii. EPC submitted a claim to Medicare for T.C.’s February 27, 2014 EKG test

           on or around February 28, 2014.

       iv. On or around March 5, 2014, Medicare reimbursed EPC for the February

           27, 2014 EKG test in the amount of $12.36.

       v. If Medicare had known that the EKG test was not reasonable and necessary,

           it would not have reimbursed EPC for the test.

 c. Patient R.A.: On or around October 11, 2013, EPC performed an EKG test on

    Medicare beneficiary R.A.

        i. R.A.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the EKG

           test.

       ii. The medical records indicated that the test was “routine.”

       iii. R.A. previously had EKG tests on March 1, 2013; September 14, 2012; July

           26, 2011; the results of these tests were normal.

       iv. EPC submitted a claim to Medicare for R.A.’s October 11, 2013 EKG test

           on or around October 15, 2013.

       v. On or around October 23, 2013, Medicare reimbursed EPC for the October

           11, 2013 EKG test in the amount of $13.42.




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                   vi. If Medicare had known that the EKG test was not reasonable and necessary,

                       it would not have reimbursed EPC for the test.

       Sudoscan tests

       258.    EPC used procedure code 95923 to bill Medicare for the Sudoscan tests that it

performed on its patients.

       259.    EPC ordered the Sudoscan test as screening test rather than to address a specific

medical problem.

       260.    The following are some examples of claims submitted by EPC to Medicare for

Sudoscan tests that were not medically necessary:

           a. Patient R.K.:     On or around April 8, 2014, EPC conducted a Sudoscan test on

               Medicare beneficiary R.K.

                    i. R.K.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for the

                       Sudoscan tests. His neurological assessment was normal.

                   ii. The medical records indicated that the April 8, 2014 Sudoscan test was

                       “routine.”

                   iii. A letter dated April 9, 2014 from EPC to R.K. stated that the Sudoscan test

                       performed on April 8, 2014 was a “screening exam.”

                   iv. EPC submitted a claim to Medicare for R.K.’s April 9, 2014 Sudoscan test

                       on or around April 10, 2014.

                   v. On or around April 23, 2014, Medicare reimbursed EPC for the April 8,

                       2014 Sudoscan test in the amount of $148.76.




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       vi. If Medicare had known that the Sudoscan test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 b. Patient R.A.: On or around November 8, 2013, EPC conducted a Sudoscan test

    on Medicare beneficiary R.A.

        i. R.A.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           Sudoscan test. His neurological assessment was normal.

       ii. The medical records indicated that the November 8, 2013 Sudoscan test was

           “routine.”

       iii. A letter dated November 12, 2013 from EPC to R.A. stated that the

           Sudoscan test performed on November 8, 2013 was a “screening exam.”

       iv. EPC had previously conducted a Sudoscan test on R.A. on March 1, 2013

           and the results were normal.

       v. EPC submitted a claim to Medicare for R.A.’s November 8, 2013 Sudoscan

           test on or around November 12, 2013.

       vi. On or around November 15, 2013, Medicare reimbursed EPC for the

           November 8, 2013 Sudoscan test in the amount of $187.65.

      vii. If Medicare had known that the Sudoscan test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 c. Patient G.T.: On or around December 7, 2012, EPC conducted a Sudoscan test on

    Medicare beneficiary G.T.




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        i. G.T.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           Sudoscan test. His neurological assessment was normal.

       ii. The medical records indicated that the December 7, 2012 Sudoscan test was

           “routine.”

       iii. A letter dated December 10, 2012 from EPC to G.T. stated that the

           December 7, 2012 Sudoscan test was a “screening exam.”

       iv. EPC submitted a claim to Medicare for G.T.’s December 7, 2012 Sudoscan

           test on or around December 10, 2012.

       v. On or around December 13, 2012, Medicare reimbursed EPC for the

           December 7, 2012 Sudoscan test in the amount of $116.00.

       vi. If Medicare had known that the Sudoscan test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 d. Patient K.B.: On or around November 18, 2013, EPC conducted a Sudoscan test

    on Medicare beneficiary K.B.

        i. K.B.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the

           Sudoscan test. His neurological assessment was normal.

       ii. The medical records indicated that the November 18, 2013 Sudoscan test

           was “routine.”

       iii. EPC previously billed Medicare for a Sudoscan test it claim to have

           performed on K.B. on March 1, 2013; however, there was no indication in

           the medical record that the March 1, 2013 test was performed.



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                  iv. EPC submitted a claim to Medicare for K.B.’s November 18, 2013

                       Sudoscan test on or around November 19, 2013.

                   v. On or around November 22, 2013, Medicare reimbursed EPC for the

                       November 18, 2013 Sudoscan test in the amount of $187.65.

                  vi. If Medicare had known that the Sudoscan test was not reasonable and

                       necessary, it would not have reimbursed EPC for the test.

       Pharyngometer tests

       261.    EPC used procedure code 92520 to bill Medicare for the Pharyngometer tests that

it performed on its patients.

       262.    EPC ordered the Pharyngometer test as a screening test rather than to address a

specific medical problem.

       263.    The following are some examples of claims submitted by EPC to Medicare for

Pharyngometer tests that were not medically necessary:

           a. Patient A.P.: On or around December 4, 2012, EPC conducted a Pharyngometer

               test on Medicare beneficiary A.P.

                    i. A.P.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for the

                       Pharyngometer test.

                   ii. The medical records indicated that the December 4, 2012 Pharyngometer

                       test was “routine.”

                  iii. EPC conducted a previous Pharyngometer test on A.P. on May 22, 2012

                       that produced results within normal limits.




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       iv. EPC submitted a claim to Medicare for A.P.’s December 4, 2012

           Pharyngometer test on or around December 5, 2012.

       v. On or around December 10, 2012, Medicare reimbursed EPC for the

           December 4, 2012 Pharyngometer test in the amount of $52.74.

       vi. If Medicare had known that the Pharyngometer test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 b. Patient E.K.: On or around October 17, 2012, EPC performed a Pharyngometer

    test on Medicare beneficiary E.K.

        i. E.K.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for a

           Pharyngometer test.

       ii. E.K. previously had a Pharyngometer test on March 2, 2012, and clinicians

           did not note any abnormalities.

       iii. The medical records indicated that the October 17, 2012 Pharyngometer test

           was “routine.”

       iv. EPC submitted a claim to Medicare for E.K.’s October 17, 2012

           Pharyngometer test on or around October 18, 2012.

       v. On or around October 22, 2012, Medicare reimbursed EPC for the October

           17, 2012 Pharyngometer test in the amount of $52.74.

       vi. If Medicare had known that the Pharyngometer test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 c. Patient C.W.: On or around December 17, 2012, EPC performed a Pharyngometer

    test on Medicare beneficiary C.W.



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                   i. C.W.’s medical record did not document the presence of signs, symptoms,

                      complaints or a medical history indicating medical necessity for a

                      Pharyngometer test.

                  ii. C.W. previously had a Pharyngometer test on April 9, 2012, and the

                      clinicians did not note any abnormalities.

                 iii. The medical records indicated that the December 17, 2012 Pharyngometer

                      test was “routine.”

                  iv. EPC submitted a claim to Medicare for C.W.’s December 17, 2012

                      Pharyngometer test on or around December 17, 2012.

                  v. On or around December 20, 2012, Medicare reimbursed EPC for the

                      December 17, 2012 Pharyngometer test in the amount of $52.74.

                  vi. If Medicare had known that the Pharyngometer test was not reasonable and

                      necessary, it would not have reimbursed EPC for the test.

       Vestibular Autorotation Tests (VAT)

       264.    EPC used procedure codes 92542, 92546, 92547 and 92270 to bill Medicare for the

Vestibular Autorotation Test (“VAT”) that it performed on its patients.

       265.    EPC ordered the VAT as a screening test rather than to address a specific medical

problem.

       266.    The following are some examples of claims submitted by EPC to Medicare for

VATs that were not medically necessary:

           a. Patient R.F.:     On or around February 22, 2013, EPC conducted a VAT on

               Medicare beneficiary R.F.




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        i. R.F.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the VAT.

       ii. The medical records indicated that the VAT was never completed.

       iii. The medical records did not contain any test results indicating that the VAT

           was performed on R.F. on February 22, 2013.

       iv. On or around February 26, 2013, EPC submitted a claim to Medicare

           seeking reimbursement for a VAT that it supposedly performed for R.F. on

           February 22, 2013.

        v. On or around March 1, 2013, Medicare reimbursed EPC for VAT that had

           supposedly taken place on February 22, 2013 in the amount of $172.21.

       vi. If Medicare had known that the VAT had not been performed and/or was

           not reasonable and necessary, it would not have reimbursed EPC for the

           test.

 b. Patient B.J.:      On or around June 7, 2012, EPC performed a VAT on Medicare

    beneficiary B.J.

        i. B.J.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for the VAT.

       ii. EPC submitted a claim to Medicare for B.J.’s June 7, 2012 VAT on or

           around June 11, 2012.

       iii. On or around June 14, 2012, Medicare reimbursed EPC for the June 7, 2012

           VAT in the amount of $107.66.

       iv. If Medicare had known that the VAT was not reasonable and necessary, it

           would not have reimbursed EPC for the tests.



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           c. Patient C.B.:     On or around February 21, 2012, EPC performed a VAT on

               Medicare beneficiary C.B.

                   i. C.B.’s medical record did not document the presence of signs, symptoms,

                      complaints or a medical history indicating medical necessity for the VAT.

                  ii. EPC submitted a claim to Medicare for C.B.’s February 21, 2012 VAT on

                      or around February 23, 2012.

                  iii. On or around February 27, 2012, Medicare reimbursed EPC for the

                      February 21, 2012 VAT in the amount of $181.35.

                  iv. If Medicare had known that the VAT was not reasonable and necessary, it

                      would not have reimbursed EPC for the test.

       Bone Density Tests

       267.    EPC used procedure code 77080 to bill Medicare for bone density tests that it

performed on its patients.

       268.    EPC ordered the bone density tests as a screening test rather than to address a

specific medical problem.

       269.    The following are some examples of claims submitted by EPC to Medicare for bone

density tests that were not medically necessary:

           a. Patient B.F.: On or around February 18, 2014, EPC performed a bone density test

               on Medicare beneficiary B.F.

                   i. B.F.’s medical record did not document the presence of signs, symptoms,

                      complaints or a medical history indicating medical necessity for a bone

                      density test.




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       ii. EPC previously performed a bone density test on B.F. on February 21, 2012,

           and the results were normal.

       iii. EPC described the February 18, 2014 test as “routine.”

       iv. EPC submitted a claim to Medicare for B.F.’s February 18, 2014 bone

           density test on or around February 19, 2014.

       v. On or around February 22, 2014, Medicare reimbursed EPC for the

           February 18, 2014 bone density test in the amount of $44.28.

       vi. If Medicare had known that the bone density test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.

 b. Patient B.B.: On or around November 26, 2013, EPC performed a bone density

    test on Medicare beneficiary B.B.

        i. B.B.’s medical record did not document the presence of signs, symptoms,

           complaints or a medical history indicating medical necessity for a bone

           density test.

       ii. EPC previously performed a bone density test on B.F. on November 8,

           2011, and the results were normal.

       iii. EPC described the November 26, 2013 bone density test as “routine.”

       iv. EPC submitted a claim to Medicare for B.B.’s November 26, 2013 bone

           density test on or around November 27, 2013.

       v. On or around December 2, 2013, Medicare reimbursed EPC for the

           November 26, 2013 bone density test in the amount of $45.01.

       vi. If Medicare had known that the bone density test was not reasonable and

           necessary, it would not have reimbursed EPC for the test.



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           c. Patient S.B.: On or around October 18, 2013, EPC performed a bone density test

               on Medicare beneficiary S.B.

                    i. S.B.’s medical record did not document the presence of signs, symptoms,

                       complaints or a medical history indicating medical necessity for a bone

                       density test.

                   ii. EPC previously performed a bone density test on S.B. on October 20, 2011,

                       and the results were normal.

                  iii. EPC described the October 18, 2013 bone density test as “routine.”

                  iv. EPC submitted a claim to Medicare for S.B.’s October 18, 2013 bone

                       density test on or around October 22, 2013.

                   v. On or around October 25, 2013, Medicare reimbursed EPC for the October

                       18, 2013 bone density test in the amount of $45.01.

                  vi. If Medicare had known that the bone density test was not reasonable and

                       necessary, it would not have reimbursed EPC for the test.

       Failure to use test results in care of patient:

       270.    Medicare only reimburses for tests if the treating physician (or qualified non-

physician practitioner) uses the test results in the management of the beneficiary’s specific medical

problem. See 42 C.F.R. § 410.32.

       271.    Once EPC conducted the ancillary tests on its Medicare beneficiaries, it failed to

incorporate the results into the beneficiary’s plan of care.

       272.    The following are examples of claims that EPC submitted for tests that it failed to

use in the medical management of the beneficiary:




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           a. On November 9, 2012, EPC conducted an ANSAR test on Medicare beneficiary

              B.C. The test came back with abnormal results; however, EPC did not take any

              action to address these abnormal result with B.C. Nonetheless, EPC submitted a

              claim to Medicare for the test on or around November 13, 2012, and was

              reimbursed by Medicare for the test on or around November 16, 2012 in the amount

              of $141.43.

           b. On December 28, 2012, EPC conducted an ANSAR test on Medicare beneficiary

              L.M. The test came back with abnormal results; however, EPC did not take any

              action to address these abnormal results with L.M. Nonetheless, EPC submitted a

              claim to Medicare for the test on or around January 3, 2013, and was reimbursed

              by Medicare for the test on or around January 7, 2013 in the amount of $141.43.

           c. On July 29, 2013, EPC conducted a VAT on Medicare beneficiary R.G. even

              though EPC intended to discharge him for having filled narcotic prescriptions from

              multiple doctors and had canceled all of his future appointments. The VAT test

              results were not reviewed by the physician until after R.G. had been discharged. In

              other words, EPC could not have intended to use these test results in R.G.’s medical

              care. Nonetheless, EPC submitted a claim to Medicare for VAT on or around July

              31, 2013, and was reimbursed by Medicare for the VAT on or around August 3,

              2013 in the amount of $168.78.

       273.   EPC’s submission of claims to Medicare that for tests that it failed to use in the

management of the beneficiary’s care rendered the claims nonreimbursable.

       274.   If Medicare had known that EPC was not using the results of the ancillary tests in

the care and management of the beneficiary, it would not have reimbursed EPC for the tests.



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        275.     Ellis was aware of the fact that EPC was not incorporating the results of the

ancillary tests in the management of the care of its patients, including those who were Medicare

beneficiaries.

                                              COUNT I
                                 FCA: Presentation of False Claims
                                (31 U.S.C. § 3729(a)(1) and (a)(1)(A))

        276.     The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

        277.     As detailed above, Defendants presented, or caused to be presented, materially false

and fraudulent claims for payment or approval to the United States, including claims for

reimbursement by the Medicare Program, that were false and fraudulent because, among other

things, they were for services for that were never rendered and/or were not medically necessary.

        278.     As detailed above, the Medicare Program would not have reimbursed EPC for these

false and fraudulent claims had they known that the services were never rendered or were not

medically necessary.

        279.     Defendants presented or caused to be presented these claims with actual knowledge

of their falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

        280.     Defendants are liable to the United States for damages in an amount to be

determined at trial, but not less than $9 million in single damages, trebled, as well as a minimum

civil penalty to the United States of $5,500 and up to a maximum penalty of $11,000 for each false

claim presented or caused to be presented prior to November 2, 2015, and a minimum civil penalty

of $11,181 to a maximum penalty of $22,363 for claims after November 2, 2015.




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                                         COUNT II
                     FCA: Using False Statements to Get False Claims Paid
                                    (31 U.S.C. § 3729(a)(1)(B))

        281.    The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

        282.    As detailed above, Defendants made, used, or caused to be made or used, false

records or statements, which included the false certifications and representations on the CMS-1500

as well as the EDI enrollment and applications, to obtain approval for and payment by the United

States for false or fraudulent claims as detailed above.

        283.    Defendants’ false certifications and representations were made for the purpose of

ensuring that the Medicare Program paid the false or fraudulent claims, which was a reasonable

and foreseeable consequence of Defendants’ statements and actions.

        284.    The false certifications and representations made or caused to be made by

Defendants were material to the payment of the false claims by the United States.

        285.    Said false records or statements were made with actual knowledge of their falsity,

or with reckless disregard or deliberate ignorance of whether or not they were false.

        286.    Defendants are liable to the United States for damages in an amount to be

determined at trial, but not less than $9 million, trebled, as well as a minimum civil penalty to the

United States of $5,500 and up to a maximum penalty of $11,000 for each false claim presented

or caused to be presented prior to November 2, 2015, and a minimum civil penalty of $11,181 to

a maximum penalty of $22,363 for claims after November 2, 2015 to the present.




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                                          COUNT III
                         FCA: False Record Material to Obligation to Pay
                                      (31 U.S.C. § 3729(a)(1)(G))

          287.   The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

          288.   As detailed above, Defendants made, used, or caused to be made or used, false

records or statements material to obligations to pay or transmit money to the United States, or

concealed, improperly avoided or decreased obligations to pay or transmit money to the United

States.

          289.   Said false records or statements were made with actual knowledge of their falsity,

or with reckless disregard or deliberate ignorance of whether or not they were false.

          290.   Defendants are liable to the United States for damages in an amount to be

determined at trial, but not less than $9 million, trebled, as well as a minimum civil penalty of

$5,500 and up to a maximum penalty of $11,000 for each false claim presented or caused to be

presented prior to November 2, 2015, and a minimum civil penalty to the United States of $11,181

to a maximum penalty of $22,363 for claims after November 2, 2015 to the present.

                                          COUNT IV
                       FCA: Reverse False Claim Against Ellis, Allen, EPC
                                    (31 U.S.C. § 3729(a)(7))

          291.   The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

          292.   Defendants Ellis, Allen and EPC made or used, or caused to be made or used, false

records and statements to conceal, avoid, or decrease an obligation to pay or transmit money to the

United States with respect to claims submitted for urine drug testing and ancillary testing being

billed fraudulently in violation of 31 U.S.C. § 3729(a)(7).



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        293.    Said concealment and avoidance was done with actual knowledge of the refund or

payment obligations, or with reckless disregard or in deliberate ignorance of these obligations.

        294.    Because of the unlawful conduct of Ellis, Allen and EPC, the United States is

entitled to damages in an amount to be determined at trial, but not less than $9 million, trebled, as

well as a minimum civil penalty to the United States of $5,500 and up to a maximum penalty of

$11,000 for each false claim presented or caused to be presented prior to November 2, 2015, and

a minimum civil penalty of $11,181 to a maximum penalty of $22,363 for claims after November

2, 2015 to the present.

                                           COUNT V
                                       Payment by Mistake

        295.    The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

        296.    The United States paid Defendants, either directly or indirectly, for claims

submitted by EPC for services that were (i) never rendered and/or (ii) not medically necessary,

without knowledge of material facts, and under the mistaken belief that Defendants were entitled

to receive payment for such claims.

        297.    The mistaken belief of the United States was material to its decision to pay

Defendants on such claims.

        298.    The United States reasonably relied on EPC’s submission of claims that they

believed were accurate, complete, and truthful, in accordance with the express requirements of

Medicare.

        299.    The United States has been damaged as a result of these mistaken payments, and

Defendants are thus liable to account and pay to the United States such amounts, which are to be

determined at trial.

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                                          COUNT VII
                                       Unjust Enrichment

        300.    The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

        301.    By retaining monies and profits received from services that were not reimbursable,

Defendants retained money that was the property of Medicare to which they were not entitled.

        302.    The United States seeks the recovery of all funds paid by Medicare by which

Defendants have been unjustly enriched, including profits unlawfully earned from urine testing at

EPC’s lab, claims for nonreimbursable ancillary testing, and other amounts paid based on claims

for services that were medically unnecessary or for services not rendered or not accurately

described.

        303.    EPM, being owned and operated by Ellis and Allen, was unjustly enriched at the

expense of the United States as the recipient of revenues from EPC that were known by EPM to

arise from Ellis, Allen, and EPC’s improper and fraudulent activities as alleged herein.

        304.    As a consequence of the acts set forth above, Defendants were unjustly enriched at

the expense of the United States in an amount to be determined and which, under the

circumstances, in equity and good conscience, should be returned to the United States.

                                        COUNT VIII
                                      Common Law Fraud

        305.    The United States repeats and realleges all preceding paragraphs of this Complaint

as if fully set forth herein.

        306.    As set forth in detail above, from 2012 through 2015, Defendants made numerous

material false statements to the United States to obtain money from Medicare to which they were

not entitled.



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       307.      Defendants knew or should have known about the fraudulent conduct at EPC.

       308.      Defendants also failed to tell Medicare about the fraudulent activity at EPC, which

was a material omission.

       309.      Defendants made such material false statements and omissions with the intent that

the United States would rely on them in making determinations to pay claims submitted to

Medicare.

       310.      The United States reasonably relied on Defendants’ material misrepresentations

and omissions.

       311.      The United States was injured as a result of Defendants’ unlawful conduct in an

amount to be proven at trial.

                                     PRAYER FOR RELIEF

     Wherefore, the United States demands that judgment be entered in its favor and against

Defendants jointly and severally as follows:

       1)        On Counts One, Two, Three and Four against all Defendants for violation of the

FCA with the amount of damages trebled and such penalties as required by law, together with all

such further relief as may be just and proper.

       2)        On Count Five against all Defendants, the amounts Medicare mistakenly paid EPC

and, indirectly, Ellis, Allen and EPM, to which they were not entitled, plus interest, costs and

expenses, together with all such further relief as may be just and proper.

       3)        On Count Six against all Defendants, the amount by which Defendants were

unjustly enriched or retained monies received from reimbursements paid by the United States to

which they were not entitled, plus interest, costs and expenses, together with all such further relief

as may be just and proper.



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           4)     On Count Seven for common law fraud against all Defendants, the amounts they

fraudulently obtained from Medicare plus interest, costs, and expenses, together with all such

further relief as may be just and proper.

           5)     All other relief as may be required or authorized by law and in the interests of

justice.

                                                JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the United States demands a

trial by jury on all issues so triable.

                                                      Respectfully submitted,
For the United States:                                CHARLES PEELER
                                                      United States Attorney
                                                      Middle District of Georgia

                                             BY:      /s/Todd P. Swanson
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2
 Ms. Ben-David is an Assistant United States Attorney from the Northern District of Georgia who has been
appointed to serve as a Special Assistant United States Attorney for the Middle District of Georgia in this case.

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